                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:05CR339-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                 ORDER
                                    )
ROYRE ERVIN, ET AL.,                )
                                    )
      Defendants.                   )
____________________________________)

        This matter is before the court upon defendant Royre Ervin’s Motion to Sever. A hearing
was held on this matter on February 13, 2006. For the reasons stated in open court, the court
hereby DENIES the Motion to Sever with leave to refile, and hereby ORDERS the government
to provide to the court within thirty days all statements it intends to use at trial. The government
shall provide the court with two copies of each statement, one copy redacted and one copy
unredacted.
        IT IS SO ORDERED.

                                                 Signed: February 13, 2006




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